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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURTr--�:;;-;=-
                                                                      RE cE1vEo --
                                                                                                                 IN OPEN COURT
                                                                    for the                                 I
                                                        Eastern District of Virginia        El                  DECl93'A
                   United States of America                            )                                   CLERK U.S. DISTRICT
                                                                                                                               CO
                                  V.                                   )                                     ALEXANDRIA VIRGINIAURT

  ABDULLAH EZZELDIN TAHA MOHAMED HASSAN                                )      Case No.      1 :24-mj-498
                                                                       )
                              Defendant                                )

                                       ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

     Upon the

               �otion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               �otion of the Government or Court's own motion pursuant to 18 U.S.C. § 3 I42(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3 I42(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under§ 3142(e)

  0 A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) {previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         0 (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(t)(1):
             0 (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(8) for which a maximum term of imprisonment of IO years or more is prescribed; or
             0 (b) an offense for which the maximum sentence is life imprisonment or death; or
             0 (c) an offense for which a maximum term of imprisonment of IO years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             O(d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local o ffenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             0 (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
        0 (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3 I42(t)( I), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
        0 (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
        0 (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

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